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FILED
U.S. piSTRIC COURT
FASTERN DISTRICT OF LA

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IN THE DISTRICT COURT OF THE UNITED STATES CLERK
EASTERN DISTRICT OF LOUISIANA

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MACK CORMIER * CIVIL ACTION
VERSUS * NO. 01-2195
JEFFERSON PARISH SHERIFF'S * SECTION "E" (2)

DEPARTMENT, ET AL
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ANSWER
NOW INTO COURT, through undersigned counsel, comes
defendant, Sheriff Harry Lee, who answers Petitioner 's
Complaint, as follows:
FIRST DEFENSE
The Complaint fails to state a claim against the
defendant upon which relief can be granted.
SECOND DEFENSE
The court is without jurisdiction in this matter
inasmuch as there is no diversity of citizenship between the
parties hereto.
THIRD DEFENSE
The Court is without jurisdiction in this matter
inasmuch as the amount in controversy, exclusive of interest and
costs does not exceed the sum and value of $50,000.00.
FOURTH DEFENSE
The Court is without jurisdiction as to all claims

asserted by the plaintiff in this matter inasmuch as the

 
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Complaint fails to state a proper claim for relief under the
Constitution of the United States or any United States Statute.
FIFTH DEFENSE

Defendant herein pleads the limitation of liability

provided for by the Louisiana Statutes.
SIXTH DEFENSE

That the plaintiff, by virtue of his own actions and
conduct, was guilty of negligence and/or contributory negligence
and/or assumption of the risk, all of which will be more fully
shown at the trial of this matter.

SEVENTH DEFENSE

That any action taken by any of the defendant's
deputies, were taken in good faith, with probable cause, without
malice and under laws believed to be constitutional, thereby
entitling the defendants to the defense of qualified immunity.

EIGHTH DEFENSE

Defendants categorically and paragraph by paragraph
allege and aver as follows:

I.

The allegations contained in paragraph No. 1 of
petitioner's Complaint are denied for lack of sufficient
information upon which to justify a belief therein.

Il.
The allegations contained in paragraph No. 2 of

petitioner's Complaint state conclusions of law and hence
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require no response from these defendant; however, out of an
abundance of caution said allegations are denied.
IIl.

The allegations contained in paragraph No. 3 are
denied for lack of sufficient information upon which to justify
a belief therein.

IV.

The allegations contained in paragraph No. 4 are denied
for lack of sufficient information upon which to justify a
belief therein.

Vv.

The allegations contained in paragraph No. 5 of
petitioner's Complaint are denied for lack of sufficient
information upon which to justify a belief therein.

VI.

The allegations contained in paragraph No. 6 of
petitioner's Complaint are admitted as to the status of Sheriff
Harry Lee; all others are denied for lack of sufficient
information upon which to justify a belief therein.

VII.

The allegations contained in paragraph No. 7 of
petitioner's Complaint are denied.
VIII.

The allegations contained in paragraph No. 8 of

petitioner's Complaint are denied for lack of sufficient
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information upon which to justify a belief therein.
IX.

The allegations contained in paragraph No. 9 of

petitioner's Complaint are denied.
X.

The allegations contained in paragraph No. 10 of
petitioner's Complaint are denied for lack of sufficient
information upon which to justify a belief therein.

XI.

The allegations contained in paragraph No. 11 of
petitioner's Complaint are denied for lack of sufficient
information upon which to justify a belief therein.

XII.

The allegations contained in paragraph No. 12 of
petitioner's Complaint are denied for lack of sufficient
information upon which to justify a belief therein.

XIII.

The allegations contained in paragraph No. 13 of
petitioner's Complaint are denied for lack of sufficient
information upon which to justify a belief therein.

XIV.

The allegations contained in paragraph No. 14 of

petitioner's Complaint are denied for lack of sufficient

information upon which to justify a belief therein.
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XV.
The allegations contained in paragraph No. 15 of
petitioner's Complaint are denied.
XVI.
The allegations contained in paragraph No. 16 of
petitioner's Complaint are admitted.
WHEREFORE defendant, Sheriff Harry Lee, pray that this
Answer be deemed good and sufficient and that, after due
proceedings are had, there be judgment herein in favor of
defendants, and against petitioner, dismissing petitioner's

Complaint with prejudice and at his cost.

Respectfully submitted,

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py: 2 LA.

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Sheriff Harry Lee

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